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1
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     San Francisco, CA 94103
3
     Telephone: 415/362-6252
4    Facsimile: 415/362-6431
5
     Attorney for Defendant WAYNE YORK
6

7
                               UNITED STATES DISTRICT COURT
8
                              EASTERN DISTRICT OF CALIFORNIA
9

10   UNITED STATES OF AMERICA,                  ) Case No. CR 16-0092 JAM
                                                )
11
            Plaintiff,                          ) STIPULATION AND (PROPOSED)
12                                              ) ORDER ALLOWING TRAVEL TO
            v.                                  ) DENVER
13
                                                )
14   WAYNE YORK, II,                            )
                                                )
15          Defendant.                          )
16                                              )

17

18          After consultation with pretrial, it is hereby stipulated and agreed between Plaintiff,

19   United States of America, and defendant Wayne York that Wayne York may travel to
20
     Denver April 7th through April 9th, 2017. Mr. York shall email his pretrial officer the day
21

22
     he leaves Albuquerque and again upon his return

23   Dated: March 23, 2017                             Respectfully submitted,
24
                                                       /s/ Christopher Cannon
25                                                     CHRISTOPHER J. CANNON
                                                       Counsel for Wayne York, II
26

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     STIPULATION AND (PROPOSED) ORDER
     ALLOWING TRAVEL TO DENVER                                                     1
     CR 16-0092-JAM
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1
     Dated: March 23, 2017                   PHILIP A. TALBERT
2
                                             United States Attorney
3

4                                            /s/ C. Cannon for Matthew G. Morris
                                             MATTHEW G. MORRIS
5
                                             Assistant U.S. Attorney
6
           IT IS SO ORDERED.
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8    Dated: March 24, 2017
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     STIPULATION AND (PROPOSED) ORDER
     ALLOWING TRAVEL TO DENVER                                        2
     CR 16-0092-JAM
